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     Lesley E. Weaver (SBN 191305)
 1   BLEICHMAR FONTI & AULD LLP
 2   555 12th Street, Suite 1600
     Oakland, CA 94607
 3   Tel.: (415) 445-4003
     Fax: (415) 445-4020
 4   lweaver@bfalaw.com
 5
     Derek W. Loeser (admitted pro hac vice)
 6   KELLER ROHRBACK L.L.P.
     1201 Third Avenue, Suite 3200
 7   Seattle, WA 98101
     Tel.: (206) 623-1900
 8   Fax: (206) 623-3384
     dloeser@kellerrohrback.com
 9

10   Plaintiffs’ Co-Lead Counsel
     [Additional counsel listed on signature page]
11
                                   UNITED STATES DISTRICT COURT
12                               NORTHERN DISTRICT OF CALIFORNIA
13
                                                             MDL No. 2843
     IN RE: FACEBOOK, INC., CONSUMER PRIVACY
14   USER PROFILE LITIGATION                                 Case No. 3:18-md-02843-VC
15                                                           CO-LEAD COUNSEL’S
                                                             ADMINISTRATIVE MOTION TO
16                                                           CONSIDER WHETHER CASES
                                                             SHOULD BE RELATED PURSUANT TO
17
                                                             LOCAL RULE 3-12
18   THIS DOCUMENT RELATES TO:
                                                             Judge: Hon. Vince Chhabria
     ALL ACTIONS
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30   CASE NO. 3:18-MD-02843-VC            ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED

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 1           Pursuant to Civil Local Rules 3-12 and 7-11, Co-Lead Counsel move the Court to relate
 2   McDonnell, et al. v. Facebook, Inc., No. 3:18-cv-05811 (N.D. Cal. Sept. 21, 2018) to In re: Facebook,
 3   Inc. Consumer Privacy User Profile Litigation, No. 3:18-cv-02843-VC. The McDonnell complaint is
 4   attached as Exhibit 1 to the Declaration of Lesley E. Weaver (“Weaver Decl.”).
 5                                          STATEMENT OF FACTS
 6           On July 27, 2018, this Court ordered that Plaintiffs’ Consolidated Complaint In this multi-
 7   district litigation (“MDL”), In re: Facebook, Inc. Consumer Privacy User Profile Litigation,
 8   should be filed by September 21, 2018. ECF No. 103. On September 21, 2018 Plaintiffs Scott
 9   McDonnell, Tabell Holsinger, and James Tronka (the “McDonnell Plaintiffs”) filed their initiating
10   complaint their initiating complaint. It was necessary for the McDonnell Plaintiffs to file their
11   complaint in order to participate in the MDL. See 28 U.S.C. § 1407(a) (MDL proceedings concern
12   the consolidation of pre-existing “civil actions involving one or more common questions of fact”).
13   In re Mortg. Elec. Registration Sys. Litig., MD-09-02119-PHX-JAT, 2016 WL 3931820, at *5 (D.
14   Ariz. July 21, 2016) (“A plaintiff may not unilaterally add actions in the MDL that have not been
15   pending in federal court elsewhere or which were not transferred to the transferee court through the
16   MDL process”).
17                                                 ARGUMENT
18           Under Civil Local Rule 3-12, an “action is related to another when: (1) the actions concern
19   substantially the same parties, property, transaction or event; and (2) it appears likely that there will be
20   an unduly burdensome duplication of labor and expense or conflicting results if the cases are
21   conducted before different Judges.” Civil L.R. 3-12(a).
22           The McDonnell Plaintiffs’ complaint should be deemed related because they concern the same
23   Defendants, transactions, and events. The McDonnell Plaintiffs raise claims relating to Facebook’s
24   misuse of personal information that are substantially identical to the other claims that have been
25   transferred to this Court and have been consolidated into this MDL. Compare Weaver Decl. Ex. 1 at
26   ¶¶ 85–142 (alleging violations of the Stored Communications Act, California’s Unfair Competition
27   Law, and unjust enrichment), with Schinder v. Facebook, Inc. et al., Case No. 5:18-cv-02571-VC
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     CASE NO. 3:18-MD-02843-VC             ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
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 1   (N.D. Cal. May 1, 2018), Compl. at ¶¶ 79–126 (alleging the substantially the same causes of action
 2   concerning the same factual allegations) (attached as Weaver Decl. Ex. 2). The McDonnell complaint
 3   pleads many of the same claims concerning the same subject matter as other complaints, and thus it is
 4   clear that relating the McDonnell Plaintiffs’ complaint to this MDL is necessary to prevent “unduly
 5   burdensome duplication of labor and expense or conflicting results if the cases are conducted before
 6   different Judges.” Civil L.R. 3-12(a)(2).
 7                                               CONCLUSION
 8           Because the law and facts are substantially identical, Co-Lead Counsel respectfully ask the
 9   Court to order the McDonnell action related to In re: Facebook, Inc. Consumer Privacy User Profile
10   Litigation, No. 3:18-cv-02843-VC.
11

12     DATE: September 21, 2018                   BLEICHMAR FONTI & AULD LLP

13                                                By: /s/ Lesley E. Weaver
                                                       Lesley E. Weaver
14
                                                  Lesley E. Weaver (SBN 191305)
15                                                Matthew S. Weiler (SBN 236052)
                                                  Emily C. Aldridge (SBN 299236)
16                                                555 12th Street, Suite 1600
                                                  Oakland, CA 94607
17                                                Tel.: (415) 445-4003
                                                  Fax: (415) 445-4020
18                                                lweaver@bfalaw.com
                                                  mweiler@bfalaw.com
19                                                ealdridge@bfalaw.com

20                                                Plaintiffs’ Co-Lead Counsel

21                                                KELLER ROHRBACK L.L.P.
22                                                By: /s/ Derek W. Loeser
                                                       Derek W. Loeser
23
                                                  Derek Loeser (admitted pro hac vice)
24                                                Lynn Lincoln Sarko (admitted pro hac vice)
                                                  Gretchen Freeman Cappio (admitted pro hac vice)
25                                                Cari Campen Laufenberg (admitted pro hac vice)
                                                  1201 Third Avenue, Suite 3200
26                                                Seattle, WA 98101
                                                  Tel.: (206) 623-1900
27                                                Fax: (206) 623-3384
28
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                                            dloeser@kellerrohrback.com
 1                                          lsarko@kellerrohrback.com
                                            gcappio@kellerrohrback.com
 2                                          claufenberg@kellerrohrback.com
 3                                          Christopher Springer (SBN 291180)
                                            801 Garden Street, Suite 301
 4                                          Santa Barbara, CA 93101
                                            Tel.: (805) 456-1496
 5                                          Fax: (805) 456-1497
                                            cspringer@kellerrohrback.com
 6
                                            Plaintiffs’ Co-Lead Counsel
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     CASE NO. 3:18-MD-02843-VC      ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD BE RELATED
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